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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL


Case No.:       CV 17-05753-AB (JCx)                         Date:   June 22, 2018


Title:    Terry Fabricant v. Fast Advance Funding, LLC et al


 Present: The Honorable       ANDRÉ BIROTTE JR., United States District Judge
                  Carla Badirian                                Chia Mei Jui
                  Deputy Clerk                                 Court Reporter

      Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
                Yoel Shaul Hanohov                           William A Delgado

 Proceedings:          DEFENDANT FAST ADVANCE FUNDING LLC'S COUNSEL,
                       WILLENKEN WILSON LOH & DELGADO LLP'S MOTION TO
                       WITHDRAW AS COUNSEL [31]

      The Courtroom Deputy Clerk distributes the Court’s tentative ruling prior to the
case being called.

      The Court having carefully considered the papers and the evidence submitted by
the parties, and having heard the oral argument of counsel, hereby takes the motion under
submission.

       Defendant shall submit, Under Seal, the documents as discussed in Court and on
the record by no later than Monday, June 25, 2018.

         IT IS SO ORDERED.




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CV-90 (12/02)                      CIVIL MINUTES - GENERAL             Initials of Deputy Clerk CB
